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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 Prairie Son Properties, LLC,                   )   Civil Action No. 2:17-cv-2620-PMD
                                                )
                       Plaintiff,               )
                                                )
 v.                                             )      DEFENDANT STEWART TITLE
                                                )    GUARANTY COMPANY’S ANSWERS
 Weeks & Irvine, LLC and                        )         TO LOCAL RULE 26.01
 Stewart Title Guaranty Company,                )          INTERROGATORIES
                                                )
                       Defendants.              )

       Pursuant to Local Civil Rule 26.01 of the United States District Court for the District of

South Carolina, Defendant Stewart Title Guaranty Company, by and through its undersigned

attorneys, hereby answers Local Civil Rule 26.01 Interrogatories, as follows:

        Interrogatory No. (A): State the full name, address, and telephone number of all persons
or legal entities who may have a subrogation interest in each claim and state the basis and extent
of said interest.

       ANSWER:        None known.

      Interrogatory No. (B): As to each claim, state whether it should be tried jury or non-jury
and why.

       ANSWER:        Plaintiff has not requested a jury trial. Weeks & Irvine, LLC has

        requested a jury trial.

       Interrogatory No. (C): State whether the party submitting these responses is a publicly-
owned company and separately identify (1) any parent corporation and any publicly held
corporation owning ten percent (10%) or more of the party’s stock; (2) each publicly-owned
company of which it is a parent; and (3) each publicly owned company in which the party owns
ten percent (10%) or more of the outstanding shares.

       ANSWER:        Defendant Stewart Title Guaranty Company is a wholly owned

subsidiary of Stewart Information Services Corporation. Stewart Information Services

Corporation is a publicly-owned company. Defendant Stewart Title Guaranty Company



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does not own 10% or more of the outstanding shares of any publicly-owned company. No

publicly owned company owns 10% or more of the outstanding shares for Stewart

Information Services Corporation.

        Interrogatory No. (D): State the basis for asserting the claim in the division in which it
was filed (or the basis of any challenge to the appropriateness of the division).

       ANSWER:         Plaintiff chose the division, and Stewart Title Guaranty Company does

not challenge the appropriateness of the division in which the case was filed.

        Interrogatory No. (E): Is this action related in whole or in part to any other matter filed
in the District, wither civil or criminal? If so, provide: (1) a short caption and the full case number
of the related action; (2) an explanation of how the matters are related; and (3) a statement of the
status of the related action. Counsel should disclose any cases which may be related regardless
of whether they are still pending. Whether cases are related such that they should be assigned to
a single judge will be determined by the Clerk of Court based on a determination of whether the
cases: arise from the same or identical transactions, happenings, or event; involve the identical
parties or property; or for any other reason would entail substantial duplication of labor if heard
by different judges.

       ANSWER:         This case is not related to any other matter filed in this District Court.

The Plaintiff’s borrower (Moss Construction of the Lowcountry, LLC) and its principal

(Joshua Zollweg) are debtors in chapter 7 bankruptcy cases pending in the Bankruptcy

Court for the District of South Carolina, which cases involve pending adversary proceedings.

        Interrogatory No. (F): If the defendant is improperly identified, give the proper
identification and state whether counsel will accept service of an amended summons and pleadings
reflecting the correct identification.

       ANSWER:         Defendant Stewart Title Guaranty Company is appropriately

identified.

       Interrogatory No. (G): If you contend that some other person or legal entity is, in whole,
or in part, liable to you or the party asserting a claim against you in this matter, identify such
person or entity and describe the basis of said liability.




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       ANSWER:       Defendant Stewart Title Guaranty Company is not at this time

pursuing claims against any other person or entity for the matters contained in the

Complaint, but reserves the right to do so.




                                              s/ G. Trenholm Walker
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Charleston, South Carolina
December 22, 2017




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